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12 Mike Rudder
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Mike Rudder,                                     Case No.: 2:17-cv-02948-DJH
17
                    Plaintiff,
18
19         vs.                                      NOTICE OF SETTLEMENT AS TO
                                                    DEFENDANT TRANS UNION, LLC,
20 Experian Information Solutions, Inc., et         ONLY
21 al.,
22                  Defendants.
23
24         NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Trans Union, LLC,
25
     in the above-captioned case have reached a settlement. The parties anticipate filing a
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                                                1
        Case 2:17-cv-02948-DJH Document 51 Filed 08/02/18 Page 2 of 2



 1 Stipulation of Dismissal with Prejudice as to Defendant Trans Union, LLC, ONLY,
 2
   pursuant to Fed. R. Civ. P. 41(a) within 60 days.
 3
 4 DATED: August 2, 2018                      KENT LAW OFFICES
 5
 6                                         By: /s/ Trinette G. Kent
                                           Trinette G. Kent
 7
                                           Attorneys for Plaintiff,
 8                                         Mike Rudder
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